           Case 4:22-cv-06947-HSG Document 60 Filed 10/02/23 Page 1 of 2



 1 EPSTEIN DRANGEL LLP
   Peter J. Farnese (SBN 251204)
 2 pfarnese@ipcounselors.com
   11601 Wilshire Blvd., Suite 500
   Los Angeles, California 90025
 3 Telephone: 310-356-4668
   Facsimile: 310-388-1232
 4
   Kerry B. Brownlee
 5 kbrownlee@ipcounselors.com
   60 East 42nd Street, Suite 1250
 6 New York, NY 10165
   Telephone: 212-292-5390
 7 Facsimile: 212-292-5391
   Pro Hac Vice
 8
   Attorneys for Plaintiff
   HDMI Licensing Administrator, Inc.
 9

10
                              UNITED STATES DISTRICT COURT
11
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
12
     HDMI LICENSING ADMINISTRATOR, INC.,       CASE NO.: 4:22-cv-06947-HSG
13
                     Plaintiff,                ORDER DENYING MOTION TO
14                                             RESCHEDULE CASE
          v.                                   MANAGEMENT CONFERENCE AND
15                                             HEARING ON MOTION TO DISMISS
     AVAILINK INC.
16
                                               Complaint Filed: November 7, 2022
                     Defendant.
17

18

19
20

21

22

23

24

25

26
27

28


                          ORDER DENYING MOTION TO RESCHEDULE
           Case 4:22-cv-06947-HSG Document 60 Filed 10/02/23 Page 2 of 2



 1                                              ORDER

 2         Having read and considered Plaintiff HDMI Licensing Administrator, Inc.’s Motion to

 3 Reschedule Case Management Conference and Hearing on Motion to Dismiss Pursuant to Local Rule

 4 6-3 (the “Motion”), and for good cause shown, the Motion is granted. The Court orders that the

 5 schedule is amended as follows:

 6            1. The Case Management Conference, and hearing on Defendant’s outstanding motion to

 7               dismiss, shall be adjourned to December 14, 2023 at 2 PM, which shall also serve as the

 8               hearing date for Plaintiff’s anticipated motion to dismiss Defendant’s counterclaims;

 9               and

10            2. All deadlines associated with or flowing from the Case Management Conference,

11               including the submission of the updated Case Management Statement, shall be adjusted
                                                                  ISTRIC
12               accordingly.                                TES D      TC
                                                           TA




                                                                                         O
13
                                                      S




                                                                                          U
                                                     ED




                                                                                           RT
14 IT IS SO ORDERED.
                                                 UNIT




                                                                              D
                                                                    DENIE
15




                                                                                               R NIA
     Date: 10/2/2023
16                                            Honorable Judge Haywood S. Gilliam,           r. Jr.
                                                                                   illiam J
                                                 NO




                                                                        oo d S . G
                                              United States District
                                                             g e H ay w
                                                                       Judge


                                                                                               FO
17                                                           Jud
                                                   RT




18                                                        ER                               LI
                                                      H




                                                                                         A
                                                               N                           C
                                                                                     F
19                                                                 D IS T IC
                                                                         R        TO
20

21

22

23

24

25

26
27

28

                                           -1-
                          ORDER DENYING MOTION TO RESCHEDULE
